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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                         June 07, 2021
                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk

                                MCALLEN DIVISION


RENRYDER, LLC, et al,                               §
                                                    §
        Plaintiffs,                                 §
                                                    §
VS.                                                 §   CIVIL ACTION NO. 7:21-CV-091
                                                    §
STEARNS BANK, LLC,                                  §
                                                    §
        Defendant.                                  §

                                AGREED FINAL JUDGMENT

       The Court considered this Agreed Final Judgment of Plaintiffs RENRYDER, LLC,

FEDERICO R. SANDOVAL and ARMANDINA L. SANDOVAL and Defendant STEARNS

BANK, N.A.

        The Plaintiffs are represented by Dennis Ramirez of the firm of the Law Office of Dennis

Ramirez, PLLC. The Defendant is represented by Rick Zuniga of the firm of Atlas, Hall &

Rodriguez, LLP.

        The parties, as shown by their signatures below, announced to the Court that all matters

of fact and things in controversy between them have been fully and finally compromised and

settled and that entry of this Agreed Final Judgment is pursuant to the terms of the parties’

agreement. The Court finds that the agreement of the parties should be enforced.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court

that that the claims of Plaintiffs RENRYDER, LLC, FEDERICO R. SANDOVAL and

ARMANDINA L. SANDOVAL against all Defendant STEARNS BANK, N.A., are hereby

dismissed with prejudice to the refiling of same.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the claims of


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                                    EXHIBIT A
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Counter-Plaintiff STEARNS BANK, N.A., against Counter-Defendants RENRYDER, LLC,

FEDERICO R. SANDOVAL and ARMANDINA L. SANDOVAL are hereby granted.


       IT IS FURTHER ORDERED, ADJUDGED AND DECREED by the Court that

the Defendant STEARNS BANK, N.A. shall have and recover from the Plaintiffs RENRYDER,

LLC, FEDERICO R. SANDOVAL and ARMANDINA L. SANDOVAL,

jointly and severally, judgment as follows:


               1.      The sum of One Million One Hundred Forty-Five Thousand Forty-Four
                       and 60/100ths ($1,145,044.60) as of April 6, 2021;
               2.      Pre and Post Judgment interest of $173.53 per day from April 6, 2021
                       until paid; and
               3.      Reasonable and necessary attorneys' fees and expenses in the amount of
                       $6,000.00 for the prosecution of this case through this judgment.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED by the Court that:


               1.      If any Plaintiffs file an unsuccessful motion for a new trial or other
               post- judgment motion, Defendant will additionally recover from any such
               Plaintiffs, jointly and severally, the amount of $7,500.00, representing the
               anticipated reasonable and necessary attorneys' fees and expenses that would be
               incurred by Plaintiff in responding thereto.

               2.      If any Plaintiffs unsuccessfully appeal this judgment to an intermediate
               court of appeals, Defendant will additionally recover from said Plaintiffs,
               jointly and severally, the amount of $20,000.00, representing the anticipated
               reasonable and necessary attorneys' fees and expenses that would be incurred
               by Defendant in defending the appeal.

               3.      If any Plaintiffs unsuccessfully appeal this judgment to the Supreme Court
               of Texas, Defendant will additionally recover from such Plaintiffs, jointly and
               severally, the amount of $30,000.00, representing the anticipated reasonable and
               necessary attorneys' fees and expenses that would be incurred by Defendant in
               defending the appeal.


               4. All costs of court are taxed against the party incurring same.


               6.    All writs and processes for the enforcement and collection of this
               judgment or the costs of court may issue as necessary which includes but is not
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              limited to the non-judicial foreclosure of the property owned by Federico R.
              Sandoval and Armandina L. Sandoval located at 904 N Flag St. & 910 N Flag St.
              Pharr, TX 78577; and

              7.     All relief requested in this case and not expressly granted is denied.
              This judgment disposes of all parties and issues, and is final and appealable.


        SO ORDERED June 7, 2021, at McAllen, Texas.


                                                   ______________________________
                                                   Randy Crane
                                                   United States District Judge




APPROVED AND AGREED TO AS TO FORM
AND CONTENT:

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ATTORNEYS FOR DEFENDANT




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